Case 2:22-cv-00605-ECM-KFP Document 67-1 Filed 08/05/24 Page1of9

EXHIBIT 1
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Modelhub and Selling Videos

Getting Started >

Managing Your A t And :
peeeeroonmaic yes th Ha “ What is Modelhub and how does it work?

Videos
Modelhub is a clip site designed for models from the ground up, powered by
That means you can now sell your content directly from your Pornhub account.
Since Modelhub is fully integrated, you will use the Pornhub account you already have.
To start making money on Modelhub, you have a couple of options:
Optimizing Your Account >

1. Upload new videos to Modelhub, available for purchase only (no free streaming)

2. The content you have for sale on Modelhub can also appear on Pornhub Premium for a higher RPM than the usual
Model Program rate

3. Set a price to charge for downloads on any of your free-to-stream content that’s currently on Pornhub
4. Switch your Modelhub videos to free-to-stream at any time to start earning the regular Model Program rate
5. Sell subscriptions to your content with Fan Clubs

6. Take custom clip requests

We'll have lots of new stuff for you soon, including a merch store for selling physical goods. Stay tuned.

Keep 65% of your video sales (60% - 15% processing fee)
Keep 65% of your custom video sales.
Keep 80% of your tips (95% - 15% processing fee)

Keep 80% of your Fan Club subscription revenue.

Modelhub also supports 4K uploads, so get your best stuff out there.

Questions? Hit us up:

“ Selling videos on Modelhub?

Sweet. You're signed up for Pornhub and you've monetized your videos on there already.
Now, how do you make even more money from your videos?

Easy - sell videos to your fans. Here's how it works:

Choose Upload from the Pornhub header:

<\pload. JPG

Upload your video, and choase "For Sale" as the Privacy Setting:

“uploader2.png

Choose your price. (between $1 and $150 USD)

Waprice.png

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Capture timestamp (UTC): Tue, 16 Jun 2020 18:06:10 GMT Page 1 of 8
Case 2:22-cv-00605-ECM-KF

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P cemAQGument, 67-1

Filed 08/05/24

Page 3 of 9

Choose whether it's viewable on Premium or not. If you check this box. your video will be viewable by all Pornhub

Premium members, whether they bought the clip or not, and you'll be eligible for Premium Viewshare revenue. Viewshare

pays out a monthly rate per thousand views on your content and that rate is based on the program's performance in that

particular month.

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That's it! You're done.

What else?

‘You can change your videos from For Sale to Free at any time. Remember that your Free videos will still earn ad revenue

from free viewers on Pornhub.

You can also set a pay to download price for your free videos in your

4K uploads are fully supported!

Compliance rules are a bit different.

When selling your wideos, the

checking out the r

* Regulations for selling videos

Just like your free videos, there are rules about phrasing in titles when you're selling videos.

Due to payment processor regulations, the rules are a bit stricter.

are a little bit different. Make sure that none of your vids will get taken down, by

Here's alist of words you can't use in your video titles. Also, if your videos contain any content that matches these

descriptions, they'll be taken down as well.

List of banned words:

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Page 2 of 8
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Case 2:22-cv-00605-ECM-KFP Document 67-1 Filed 08/05/24 Page 4 of 9

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Capture timestamp (UTC): Tue, 16 Jun 2020 18:06:10 GMT Page 3 of 8
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Case 2:22-cv-00605-ECM-KFP Document 67-1

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Drunkeness

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Extreme Bondage

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Filed 08/05/24

Page 5 of 9

Page 4 of 8
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Case 2:22-cv-00605-ECM-KFP Document 67-1 Filed 08/05/24 Page 6 of 9
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Tipsy

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Capture timestamp (UTC): Tue, 16 Jun 2020 18:06:10 GMT Page 5 of 8
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Case 2:22-cv-00605-ECM-KFP Document 67-1

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Filed 08/05/24

Page 7 of 9

Page 6 of 8
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Case 2:22-cv-00605-ECM-KFP Document 67-1 Filed 08/05/24 Page 8of9

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herb

joint

kush

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kush,mary jane,haze,stoned
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pot

speed
speed, haze
stoned

weed

“ Modelhub rank and Top Earners
On your profile page, you'll see a number at the top left marked "Modelhub Rank."

16 467,518
Modelhub Rank Subscribers

Your Modelhub Rank is calculated on a daily basis. It is an algorithm that takes into account a combination of how you are
performing with your Modelhub sales {including Video Sales, Tips, Fan Club Subscriptions and Custom Video sales) as well
as how active you are on your profile and uploading new content. Previews of your videos on Modelhub will also help your
Modelhub Rank. You will receive a rank as soon as you have earnings of any of those products, and your rank will increase
the more that you sell.

The Top 20 Earners on Modelhub for a given month will earn a cash bonus.

The Top Earners ranking is based purely on sales for the given month. For example, the Top Earner for November is
whoever made the most sales (in dollars) for the month of November. This ranking is separate from your Modelhub Rank.

Check your Top Earner status on your

Being part of the Model Program also makes you eligible to win Monthly and Annual Awards and participate in our
Model

“ Upcoming Modelhub features

We're always working on new tools and features to help you succeed.

Here's just a small taste of what we have coming up for you:

Video Sorting (On Model Profile Page on Modelhub)

Your fans will have improved sorting tools, which will help them find the exact video they wanna buy.
Video Manager Upgrades

We're building advanced tools for your video manager to help you filter and sort your content, and improving the range of

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Wideo Manager Upgrades

We're building advanced tools for your video manager to help you filter and sort your content, and improving the range of
stats and metrics you'll see. You'll also be able to create coupon codes, and give a specific user free access to a paid video [if
you want to!)

Modelhub Rank

We're implementing a full Modelhub ranking system, so you'll have a better idea of how your content is performing.

Modelhub Stats

Expect lots of detailed metrics like video views, ranking, revenue, and tons more.

“ Video views on Modelhub

The views you see on your Modelhub videos are different than on your Pornhub videos.

On Modelhub, the "views" you see are video previews, meaning users who watched the short preview of your for-sale clip.
These previews don't earn any ad revenue like views on Pornhub do.

If you also allowed your Modelhub video to be viewed on Pornhub Premium, you will earn revenue for each time your video
is viewed by a Premium user. Those earnings will be broken downin your . More on Viewshare

Please note that on Modelhub, you only get paid when someone buys your video or sends you a tip - you won't make any
money for previews.

Was this article helpful? agg 1¢

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Capture timestamp (UTC): Tue, 16 Jun 2020 18:06:10 GMT Page 8 of 8
